Case 2:16-cr-00158-RAJ-RJK Document 41 Filed 09/06/18 Page 1 of 10 PageID# 217




                        IN THE UNITED STATES DISTRICT COURT                              FILED
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division                                         -S20I8
 DEVIN VON PARADIS,                                                              CLERK, US.DISTRICT COURT
                                                                                        NORFOLK. VA

                       Petitioner,

        V.                                              CRIMINAL ACTION NO. 2:16-cr-158
                                                        CFVIL ACTION NO. 2:18-cv-174


 UNITED STATES OF AMERICA,

                       Respondent.


                           MEMORANDUM OPINIONAND ORDER


        Before the Court is pro se litigant Devin Von Paradis's ("Petitioner") Motion to Vacate,

 Set Aside, or Correct a Sentence by a Person in Federal Custody pursuant to Title 28, United

 States Code, Section 2255 ("2255 Motion"). Having reviewed the motions and filings, the Court

 finds that a hearing is not necessary to address Petitioner's motion. See 28 U.S.C. § 2255(b).

 For the reasons set forth below. Petitioner's 2255 Motion is DENIED.

                        I. FACTUAL AND PROCEDURAL HISTORY


        On November 16, 2016 Petitioner was charged with three counts of felon in possession of

a firearm imder 18 U.S.C. §§ 922(g)(1), 924(a)(2) and one count of possession with intent to

distribute marijuana under 18 U.S.C. §§ 841(a)(1), (b)(1)(D). ECF No. 1 at 1-2. At his initial

appearance. Petitioner stated Mr. Richard Doummar ("Doummar") would represent him; Mr.

Doummar remained Petitioner's counsel at all proceedings before this Court. ECF No. 38 at 1.

        On February 15, 2017, Petitioner pled guilty to one count of felon in possession of a

firearm under 18 U.S.C. §§ 922(g)(1), 924(a)(2). Id. at 2. This Court held a hearing pursuant to
Case 2:16-cr-00158-RAJ-RJK Document 41 Filed 09/06/18 Page 2 of 10 PageID# 218
Case 2:16-cr-00158-RAJ-RJK Document 41 Filed 09/06/18 Page 3 of 10 PageID# 219
Case 2:16-cr-00158-RAJ-RJK Document 41 Filed 09/06/18 Page 4 of 10 PageID# 220
Case 2:16-cr-00158-RAJ-RJK Document 41 Filed 09/06/18 Page 5 of 10 PageID# 221
Case 2:16-cr-00158-RAJ-RJK Document 41 Filed 09/06/18 Page 6 of 10 PageID# 222
Case 2:16-cr-00158-RAJ-RJK Document 41 Filed 09/06/18 Page 7 of 10 PageID# 223
Case 2:16-cr-00158-RAJ-RJK Document 41 Filed 09/06/18 Page 8 of 10 PageID# 224
Case 2:16-cr-00158-RAJ-RJK Document 41 Filed 09/06/18 Page 9 of 10 PageID# 225
Case 2:16-cr-00158-RAJ-RJK Document 41 Filed 09/06/18 Page 10 of 10 PageID# 226
